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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

IN RE:

BARBARA STEPHENS                                 CASE NO.: 6:18-bk-05294-CCJ
                                                 CHAPTER: 7
      DEBTOR(S).
_______________________________/

              MOTION FOR IN REM RELIEF FROM AUTOMATIC STAY
            NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
PURSUANT TO LOCAL RULE 2002-4, THE COURT WILL CONSIDER THE RELIEF
REQUESTED IN THIS PAPER WITHOUT FURTHER NOTICE OR HEARING
UNLESS A PARTY IN INTEREST FILES A RESPONSE WITHIN TWENTY ONE (21)
DAYS FROM THE DATE SET FORTH ON THE ATTACHED PROOF OF SERVICE,
PLUS AN ADDITIONAL THREE (3) DAYS FOR SERVICE IF ANY PARTY WAS
SERVED BY U.S. MAIL.

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE
A RESPONSE WITH THE CLERK OF THE COURT AT GEORGE C. YOUNG
FEDERAL COURTHOUSE. 400 W. WASHINGTON STREET, SUITE 5100, ORLANDO
FLORIDA 32801, AND SERVE A COPY ON THE MOVANT’S ATTORNEY, JEFFREY
S. FRASER, ESQ, ALBERTELLI LAW, PO BOX 23028, TAMPA, FL 33623, AND ANY
OTHER APPROPRIATE PERSONS WITHIN THE TIME ALLOWED. IF YOU FILE
AND SERVE A RESPONSE WITH THE TIME PERMITTED, THE COURT WILL
EITHER SCHEDULE AND NOTIFY YOU OF A HEARING, OR CONSIDER THE
RESPONSE AND GRANT OR DENY THE RELIEF REQUESTED WITHOUT A
HEARING.

IF YOU DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT
WILL CONSIDER THAT YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE
PAPER, WILL PROCEED TO CONSIDER THE PAPER WITHOUT FURTHER
NOTICE OR HEARING, AND MAY GRANT THE RELIEF REQUESTED.

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, The Bank of New York Mellon f/k/a The Bank of New York as
Trustee for Home Equity Loan Trust 2007-FRE1 (“Movant”), by and through its undersigned
counsel, and moves for in rem relief from the automatic stay, pursuant to 11 USC §362(d). In
support thereof, Movant states:
       1.     On August 30, 2018, the Debtor filed for relief under Chapter 7 of the United
States Bankruptcy Code.
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        2.      Jurisdiction in this cause is granted to the Court, pursuant to 28 U.S.C. §1334, 11
U.S.C. §362 and all other applicable rules and statutes affecting the jurisdiction of the Court
generally.
        3.      On August 27, 2018, the Circuit Court of the Seventh Judicial Circuit entered a
Final Judgment of Foreclosure – a true and correct copy of which is attached hereto as Exhibit
“A” – in favor of Movant for $411,498.50 related to the following Real Property in Volusia
County, Florida:
       LOT 26, HIDDEN LAKES SUBDIVISION, PHASE I, ACCORDING TO THE
       PLAT THEREOF AS RECORDED IN MAP BOOK 37, PAGES 121 AND 122, OF
       THE PUBLIC RECORDS OF VOLUSIA COUNTY, FLORIDA.

Property Address: 1403 N DEXTER DRIVE, PORT ORANGE, FL 32129 (the “Subject
Property”)

        4.      According to Debtor’s Schedule C, the property is not claimed as exempt.
        5.      The Debtor is in default. As of September 14, 2018, the Debtor is due for the
December 1, 2016 payment and all subsequent payments. The unpaid principal amount due, as
of September 14, 2018, is $374,143.82.
        6.      The Debtor’s Statement of Intention shows that the Debtor intends to surrender
the subject property. The Affidavit in Support of the Motion for Relief from Stay is attached as
Exhibit “B”.
        7.      The value of the collateral pursuant to Schedule D is $199,946.00.
        8.      The value of the above collateral is insufficient to provide adequate protection to
Movant. It would be inequitable to permit the Debtor to retain the collateral, as there is no equity
in the collateral, and it is not necessary for an effective reorganization.
        9.      Furthermore, Movant is not receiving any payments from Debtor to protect
against the erosion of its collateral position.
        10.     If Movant is not permitted to enforce its security interest in the collateral or
provided with adequate protection, it will suffer irreparable injury, loss and damage.
        11.     Once the stay is terminated, Debtor will have minimal motivation to insure,
preserve, or protect the collateral. Therefore, Movant requests that the Court waive the 14-day
stay imposed by Fed. R. Bankr. P. 4001(a)(3).




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         WHEREFORE, The Bank of New York Mellon f/k/a The Bank of New York as
Trustee for Home Equity Loan Trust 2007-FRE1 respectfully requests the Court enter an
order:
               a.      terminating the automatic stay, in rem;
               b.      permitting Movant to take any and all steps necessary to exercise any and
all rights it may have in the collateral described herein;
               c.      allowing Movant to gain possession of said collateral;
               d.      waiving the 14-day stay under Fed. R. Bankr. P. 4001(a)(3), and
               e.      granting such further relief as the Court deems just and appropriate.




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                                                       By: /s/ Jeffrey S. Fraser, Esq.
                                                       Jeffrey S. Fraser, Esq.
                                                       Florida Bar No.: 85894




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the attached service list, this 4th day
of October, 2018.
                                                     Jeffrey S. Fraser, Esq.
                                                     Albertelli Law
                                                     Attorney for Secured Creditor
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                                                     By: /s/ Jeffrey S. Fraser, Esq.
                                                     Jeffrey S. Fraser, Esq.
                                                     Florida Bar No.: 85894


SERVICE LIST
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U.S. Trustee
Office of the United States Trustee
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